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P R O B 35                ORDER TERMINATING SUPERVISION
                             PRIOR TO EXPIRATION DATE


                           UNITED STATES DISTRICT COURT
                                     FOR THE
                          EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA                          )
                                                  )
                            vs.                   )     Docket Number: 1:00CR05209-16 OWW
                                                  )
ISMAEL CORREA                                     )
                                                  )


On July 30, 2010, the above-named was placed on Probation for a period of 24 months. He
has complied with the rules and regulations of supervision. It is accordingly recommended
that he be discharged from supervision. The Government has been informed and does
not object to this recommendation for early termination.

                                    Respectfully submitted,


                                     /s/ Adrian Garcia
                                     ADRIAN GARCIA
                              United States Probation Officer


Dated:         April 8, 2011
               Fresno, California
               AG/rmv



REVIEWED BY:           /s/ Hubert J. Alvarez (rr)
                     Hubert J. Alvarez
                     Supervising United States Probation Officer




                                                                                                          R ev. 05/2006
                                                              E A R LY T E R M IN A TIO N ~ O R D E R (P R O B 35).M R G
           Case 1:00-cr-05209-LJO Document 703 Filed 08/12/11 Page 2 of 2


Re:   CORREA, Ismael
      Docket Number: 1:00CR05209-16 OWW
      ORDER TERMINATING SUPERVISION PRIOR TO EXPIRATION DATE




                                   ORDER OF COURT

It is ordered that the probationer be discharged from probation, and that the proceedings in
the case be terminated.

  August 11, 2011                                  /s/ OLIVER W. WANGER
Date                                            Oliver W. Wanger
                                                Senior United States District Judge

AG/rmv
Attachment: Recommendation
cc:   United States Attorney's Office
      FLU Unit, AUSA's Office
      Fiscal Clerk, Clerk's Office




                                                                                                         R ev. 05/2006
                                                             E A R LY T E R M IN A TIO N ~ O R D E R (P R O B 35).M R G
